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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3019
                                     )
           V.                        )
                                     )
CHRISTOPHER G. DIGIORGIO,            )                   ORDER
DOMINICK C. DIGIORGIO,               )
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     1.    The government’s unopposed motion to continue the
           hearing on defendants’ motions to suppress, filing 23,
           is granted.

     2.    The evidentiary hearing on defendants’ motions to
           suppress, filings 18 and 20, will be held before the
           undersigned on May 6, 2008 beginning at 2:30 p.m. in
           Courtroom #2, United States Courthouse, Lincoln,
           Nebraska.

     3.    The defendants, defendants’ counsel, and counsel for
           the government shall be present at this hearing.


     DATED this 3rd day of April, 2008.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
